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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT
____________________________________
                                      :
MEDIFLEET, INC.,                      :  CASE NO. 3:16-cv-1402
                       Plaintiff,     :
v.                                    :
                                      :
MIRACA LIFE SCIENCES, INC.,           :
LAKEWOOD PATHOLOGY                    :
ASSOCIATES, INC. d/b/a MIRACA         :
LIFE SCIENCES f/k/a PLUS              :
DIAGNOSTICS, AND PATH-TEC             :
HOLDINGS, INC.                        :
                       Defendants.    :  AUGUST 17, 2016
___________________________________ :

                                         COMPLAINT

       Plaintiff, Medifleet, Inc., for its Complaint, states:

                                         THE PARTIES

       1.        Plaintiff, Medifleet, Inc. (“Medifleet”), is, and at all times relevant hereto

has been, a privately-owned Connecticut corporation.

       2.       Medifleet’s principal place of business has at all times relevant hereto

been in New Haven County, Connecticut.

       3.       Defendant, Miraca Life Sciences, Inc. (“Miraca”), is, and at all times

pertinent hereto has been, a Delaware corporation with its principal place of business in

Irving, Texas.

       4.       Defendant, Lakewood Pathology Associates, Inc. d/b/a Miraca Life

Sciences f/k/a Plus Diagnostics (“Plus Diagnostics”), is, and at all times relevant hereto

has been, a New Jersey corporation with its principal place of business in Union, New

Jersey. Plus Diagnostics is registered to do business in the State of Connecticut.
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       5.     Defendant, Path-Tee Holdings, Inc. d/b/a Path-Tee, Inc. ("Path-Tee"), is,

and at all times relevant hereto has been, a Georgia corporation; at all times relevant

hereto, Path-Tee's principal place of business was located in Columbus, Georgia.

                               JURISDICTION AND VENUE

       6.     This Court has jurisdiction under 28 U.S.C. § 1332(a)(1 ), because the

matter in controversy exceeds the sum of $75,000.00 dollars, exclusive of interests and

costs, and the parties are citizens of different states.

       7.     Venue is proper in the District of Connecticut under 28 U.S.C. §

1391 (b)(2), as this is the judicial district in which a substantial part of the events or

omissions giving rise to Medifleet's claims occurred because: (a) Plus Diagnostics and

Miraca, as its successor, contracted with Medifleet, whose principal place of business is

located in this judicial district, to be the exclusive courier providing services to Plus

Diagnostics in a specific geographic area of service that included, inter alia,

Connecticut; and (b) Path-Tee, as a vendor hired by Miraca to provide courier

management services on behalf of Miraca and/or Plus Diagnostics, designated couriers

other than Medifleet to provide services to Plus Diagnostics in certain states located

within the specific geographic area where Medifleet had been contracted by Plus

Diagnostics and/or Miraca to provide services exclusively.

                                    FACTUAL BACKGROUND
       8.     Medifleet is a provider of customized courier and logistics services to the

healthcare industry, including diagnostic specimen handling and transport. Medifleet's

customers include hospitals, diagnostic laboratories, physicians, medical institutions,

and other healthcare-related companies.




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          9.      Miraca is a subsidiary of Miraca Holdings, Inc., Japan's largest clinical

pathology laboratory provider. Miraca provides subspecialty anatomic pathology

services in the fields of breast health, dermatology, gastroenterology, hematology and

urology. Miraca is the largest independent anatomic pathology laboratory in the United

States.

          10.     Plus Diagnostics is a cytology, histology and molecular pathology

laboratory with a specialization in dermatopathology, hematopathology, gastrointestinal

pathology and genitourinary pathology.

          11.     Path-Tee is a courier management and specimen tracking company that

manages the specimen collection and transport process, such as courier scheduling,

route management, supply tracking, specimen tracking and reporting.

          12.     On or about February 28, 2011, Medifleet entered into a three-year

contract with Plus Diagnostics titled "Courier Services I Distribution Management

Agreement" (the "Plus Diagnostics Contract"), to provide courier services for Plus

Diagnostics, including the transport and delivery of medical records, laboratory

specimens, blood products, pharmaceuticals, returns and documents (the "Plus

Diagnostics Business").

      13.         Section IV of the Plus Diagnostics Contract, "Term," provides:

      The initial length and term of this Agreement shall be Three (3) years,

      commencing February 28, 2011 and expiring March 1, 2014. Upon

      expiration of said initial term, this Agreement shall thereafter automatically

      renew for successive terms of One (1) year each, unless a written notice

      of termination by either party is given to the other party at least ninety (90)




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       days prior to either the initial term expiration date or any renewal

       anniversary date.

       14.       Section V of the Plus Diagnostics Contract, "Compensation," provides:

       [Plus Diagnostics] agrees to pay, and [Medifleet] agrees to accept as

       compensation of its services hereunder, compensation in the amounts and

       at the rates set forth in Exhibit "E", Compensation Schedules, which is

       attached hereto . . . . The parties further agree that [Medifleet] will

       bill/invoice [Plus Diagnostics) in the manner, and at the times, set forth in

       Exhibit "E" and that [Plus Diagnostics] will pay the amounts so

       billed/invoiced in accordance with the terms set forth in Exhibit "E".

       15.       The "Compensation Schedule" set forth in Exhibit "E" to the Plus

Diagnostics Contract provides that Plus Diagnostics pay Medifleet according to the

"Scope of Services & Schedule 1," or "per route." A "per route" payment rate is

calculated based on all of the scheduled route services provided by Medifleet.

       16.       Specifically, the Plus Diagnostics Contract provides that Medifleet is to bill

Plus Diagnostics a weekly charge of $24,687.39 for the scheduled route services

provided by Medifleet, plus any additional nonscheduled pick-up and/or delivery and/or

stat orders.

       17.       Section V of the Plus Diagnostics Contract further provides: "Any failure by

[Plus Diagnostics] to timely pay any invoice properly submitted by [Medifleet] may, in

[Medifleet's] sole discretion, be deemed a breach of this Agreement by [Plus

Diagnostics]."




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       18.     Under Section V of the Plus Diagnostics Contract:

       [Plus Diagnostics] also agrees to pay all costs incurred in collection, trial

       and appeal against [Plus Diagnostics] or Guarantor (including attorney's

       fees and charges for paralegals and others working under the direction or

       supervision of attorney), expenses and other costs, including sales and

       use taxes thereon incurred by [Medifleet] in the collection of said monies

       due under, or otherwise enforcing its rights under, the terms of this

       agreement.

       19.     Section XI of the Plus Diagnostics Contract, "Notifications," provides in

relevant part: "Any notice, demand, or other communication given to or by or served

upon any party hereto shall be in writing and shall be given or served by hand delivery,

commercial overnight courier service, or U.S. registered or certified mail, properly

addressed to the party ... or by facsimile."

      20.      Section XII of the Plus Diagnostics Contract, "Governing Law; Venue;

Jurisdiction," states that each party to the Plus Diagnostics Contract submits to the

exclusive jurisdiction of the Federal District Court in Connecticut in connection with any

legal suit, action or proceeding arising out of or relating to the Plus Diagnostics

Contract.

      21.      Section XIII of the Plus Diagnostics Contract, "Binding on Successors,"

provides: "This Agreement shall be binding upon and inures to the benefit of any and all

successor, trustees, assigns, agents and other successors-in-interest of the parties to

this Agreement."




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       22.      Under the "Stipulation of Exclusivity" section of the Plus Diagnostics

Contract, attached and incorporated by reference as Exhibit "C," Plus Diagnostics

agreed that Medifleet "shall be the exclusive Courier and method of delivery utilized by

[Plus Diagnostics] within the territory for the purposes which are described and set

forth in the Agreement and/or in any Exhibits attached thereto, and particularly Exhibits

'A' and 'B."' (the "Exclusivity Provision").

       23.     The "Specification of the Geographic Areas and/or Specific Pickup and/or

Delivery Locations or Routes Covered by this Agreement" section of the Plus

Diagnostics Contract, attached and incorporated by reference as Exhibit "B," provides

that "the specific geographic area of service is defined as all delivery and/or pick-up

locations listed in Scope of Services."

       24.     Under the "Scope of Services & Schedule 1" section of Exhibit "E" to the

Plus Diagnostics Contract, the specific geographic area of service is Connecticut,

Delaware, Massachusetts, Maryland, New Hampshire,              New Jersey, New York,

Pennsylvania and Rhode Island (the "Designated Territories").

       25.     Upon information and belief, on or about October 22, 2013, Miraca

acquired Plus Diagnostics.

       26.     Pursuant to Section XIII of the Plus Diagnostics Contract, Miraca was

bound by the terms of the Plus Diagnostics Contract as successor of Plus Diagnostics.

       27.     Upon information and belief, in or about November 2013, Miraca hired

Path-Tee to solicit bids for courier services on its behalf.

       28.     On or about November 25, 2013, Path-Tee sent multiple couriers,

including Medifleet, a Request for Pricing (the "Miraca RFP") soliciting proposals to




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provide courier services for Miraca (the "Miraca Business"). Medifleet submitted a

proposal to Path-Tee in response to the Miraca RFP.

       29.     At that time, and on multiple occasions thereafter, Medifleet sought and

received confirmation from Path-Tee and/or Miraca that the Plus Diagnostics Business

was not part of the Miraca RFP.

       30.     Plus Diagnostics did not provide Medifleet with written notification, in the

manner required under Section XI of the Plus Diagnostics Contract, of its intent to

terminate the Plus Diagnostics Contract on or before December 1, 2013 (at least 90

days prior to the initial term expiration date of March 1, 2014), as required under Section

IV of the Plus Diagnostics Contract. Accordingly, the Plus Diagnostics Contract

automatically renewed for an additional year term, expiring March 1, 2015.

      31.      Medifleet continued to provide courier services to Plus Diagnostics in

accordance with the terms of the Plus Diagnostics Contract.

      32.      On or about February 25, 2014, Path-Tee, on behalf of Miraca, announced

the Miraca RFP awards; Path-Tee awarded Medifleet with the Miraca Business in

certain major markets, including those located in Maryland, Virginia, the District of

Columbia, Pennsylvania, North Carolina, Ohio and Texas (the "Miraca Award"). Path-

Tec awarded the Miraca Business located in other markets, including those in New York

and New Jersey, to another courier.

      33.      Through the Miraca Award, Medifleet learned, for the first time, that it was

to lose the Plus Diagnostics Business in two of the Designated Territories in the Plus

Diagnostics Contract: New York and New Jersey.




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       34.     Thereafter, on or about March 13, 2014 and March 27, 2014, Medifleet

requested clarification from Path-Tee and/or Plus Diagnostics as to the Plus Diagnostics

Business in the other Designated Territories.

       35.     In response, Path-Tee and/or Miraca informed Medifleet that where Path-

Tec had awarded a courier the Miraca Business in a particular state, that courier

received and/or retained the Plus Diagnostics Business in that state as well. Where a

courier was not awarded the Miraca Business in a particular state, that courier would

eventually lose the Plus Diagnostics Business in that state to another courier.

       36.     Upon information and belief, Miraca hired Path-Tee to manage and

facilitate the transition of the Plus Diagnostics Business from Medifleet to other couriers

in the Designated Territories where Medifleet was not awarded the Miraca Business.

       37.     Upon information and belief, Path-Tee had knowledge of the Plus

Diagnostics Contract and the terms contained therein, including the Exclusivity

Provision.

       38.     In or about March 2014, in violation of the Exclusivity Provision, Path-Tee

and/or Miraca began to transition the Plus Diagnostics Business from Medifleet to other

couriers in the Designated Territories where Medifleet was not awarded the Miraca

Business.

      39.      In addition, Path-Tee and/or Miraca unilaterally modified the payment rate

for the services provided by Medifleet under the Plus Diagnostics Contract. Specifically,

Path-Tee and/or Miraca sought to bill Medifleet the "per stop I per state" payment rate

for the Plus Diagnostics Business retained by Medifleet in the Designated Territories

instead of the "per route" payment rate set forth in the Plus Diagnostics Contract.




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       40.     At no time did either Path-Tee or Miraca notify Medifleet of its intent to

modify the payment rate for the Plus Diagnostics Business retained by Medifleet in the

Designated Territories.

       41.     At no time did Medifleet agree to modify the payment rate for the Plus

Diagnostics Business retained by Medifleet in the Designated Territories from the "per

route" payment rate to the "per stop I per state" payment rate.

       42.     By design, the "per route" payment rate is more lucrative to Medifleet than

the "per stop I per state" payment rate.

       43.     Medifleet performed all of its obligations under the Plus Diagnostics

Contract and, accordingly, sought full payment for its courier services in accordance

with the "per route" payment rate set forth in the Plus Diagnostics Contract.

       44.     Plus Diagnostics, Miraca and/or Path-Tee have failed to pay Medifleet in

full for the courier services rendered by Medifleet under the Plus Diagnostics Contract.

       45.     Medifleet performed all of its obligations under the Miraca Award and,

accordingly, sought full payment for its courier services in accordance with the "per stop

I per state" payment rate set forth in the Miraca Award.

       46.     Path-Tee and/or Miraca have failed to pay Medifleet in full for the courier

services rendered by Medifleet in accordance with the terms of the Miraca Award.

       47.     Despite Medifleet's performance of its obligations under the Plus

Diagnostics Contract and the Miraca Award (collectively, the "Agreements"), and its

demand for full payment, Plus Diagnostics, Miraca and/or Path-Tee have refused to pay

Medifleet in full for its courier services.




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      48.       Medifleet made demand for payment from             Path-Tee, who,       upon

information and belief, is responsible for ensuring that Medifleet is paid in full for the

courier services provided to Plus Diagnostics and/or Miraca under the terms of the

Agreements.

      49.      Despite due demand, Path-Tee has failed and/or refused to pay Medifleet

in full for the courier services rendered to Plus Diagnostics and/or Miraca.

COUNT ONE: BREACH OF CONTRACT RE PLUS DIAGNOSTICS CONTRACT
(AGAINST MIRACA AND PLUS DIAGNOSTICS)

       1-49. Paragraphs 1 through 49 of the Complaint are realleged as if set forth fully

herein as Paragraphs 1 through 49 of Count One.

       50.     Medifleet has performed all of its obligations under the Plus Diagnostics

Contract.

       51.     By the aforementioned conduct, Plus Diagnostics has deprived Medifleet

of the benefit of the Plus Diagnostics Contract, including the Exclusivity Provision.

       52.     Plus Diagnostics has failed to pay Medifleet for its services rendered in

accordance with the payment rate set forth in the Plus Diagnostics Contract.

       53.     Plus Diagnostics has thereby breached its contract with Medifleet.

       54.     Miraca, as successor of Plus Diagnostics, is bound by the terms contained

in the Plus Diagnostics Contract pursuant to Section XIII. Accordingly, Miraca is liable to

Medifleet for breach of the Plus Diagnostics Contract.

       55.     As a result of the foregoing breach(es) of the Plus Diagnostics Contract,

Medifleet has incurred damages in the approximate sum of $238,466.70 (as of

09/03/2015), plus prejudgment interest and costs.




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COUNT TWO: BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR
DEALING RE PLUS DIAGNOSTICS CONTRACT (AGAINST MIRACA AND PLUS
DIAGNOSTICS)

       1-55. Paragraphs 1 through 55 of Count One of the Complaint are realleged as if

set forth fully herein as Paragraphs 1 through 55 of Count Two.

       56.      The Plus Diagnostics Contract contains an implied covenant of good faith

and fair dealing.

       57.      By the Plus Diagnostics Contract, Medifleet reasonably expected to

receive certain benefits including, but not limited to, the benefit of the Exclusivity

Provision and the "per route" payment rate.

       58.      The foregoing described wrongful conduct by Plus Diagnostics and/or

Miraca injured and interfered with Medifleet's receipt of the benefits that it reasonably

expected to receive under the Plus Diagnostics Contract.

       59.      In committing the foregoing described wrongful acts that injured and

interfered with Medifleet's receipt of benefits that it reasonably expected to receive

under the Plus Diagnostics Contract, Plus Diagnostics and/or Miraca acted in bad faith,

with self-interested and sinister motives, and with a design to mislead and deceive

Medifleet.

       60.      The foregoing described wrongful conduct by Plus Diagnostics and/or

Miraca, in breach of the covenant of good faith and fair dealing implied in the Plus

Diagnostics Contract, directly and proximately caused Medifleet to suffer economic

harm and incur damages in the approximate sum of $238,466.70 (as of 09/03/2015),

plus prejudgment interest and costs.




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COUNT THREE: ACCOUNT STATED RE PLUS DIAGNOSTICS CONTRACT
(AGAINST MIRACA, PLUS DIAGNOSTICS AND PATH-TEC)

       1-60. Paragraphs 1 through 60 of Count Two of the Complaint are realleged as if

set forth fully herein as Paragraphs 1 through 60 of Count Three.

       61.      Medifleet submitted invoices to Plus Diagnostics for payment of its

services rendered in accordance with the Plus Diagnostics Contract.

       62.      Plus Diagnostics received and retained the invoices submitted by

Medifleet without protest. Accordingly, Plus Diagnostics is liable to Medifleet for an

account stated.

       63.      Miraca, as successor of Plus Diagnostics, is bound by the terms contained

in the Plus Diagnostics Contract pursuant to Section XIII. Accordingly, Miraca also is

liable to Medifleet for an account stated.

       64.      Upon information and belief, as a vendor hired by Miraca to provide

courier management services on behalf of Miraca and/or Plus Diagnostics, Path-Tee is,

and at all times relevant hereto was, responsible for ensuring that Medifleet is paid in

full for the courier services rendered to Plus Diagnostics under the terms of the Plus

Diagnostics Contract. Accordingly, Path-Tee is liable to Medifleet for an account stated.

       65.      By virtue of the foregoing, Medifleet is entitled to a judgment against all

Defendants in the amount of $238,466. 70 (as of 09/03/2015), as an account stated, plus

the costs of disbursements of this action and interest as provided by law.

COUNT FOUR: UNJUST ENRICHMENT RE PLUS DIAGNOSTICS CONTRACT
(AGAINST MIRACA AND PLUS DIAGNOSTICS)

       1-49. Paragraphs 1 through 49 of the Complaint are realleged as if set forth fully

herein as Paragraphs 1 through 49 of Count Four.




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       50.      Medifleet conferred a benefit on Plus Diagnostics, including the rendering

of Medifleet's courier services to Plus Diagnostics.

       51.      Medifleet conferred a benefit on Miraca, as successor of Plus Diagnostics,

including the rendering of Medifleet's courier services to Plus Diagnostics.

       52.      Plus Diagnostics and/or Miraca voluntarily accepted and retained the

benefit conferred.

       53.     The circumstances render Plus Diagnostics and/or Miraca's retention of

the benefit inequitable unless Plus Diagnostics and/or Miraca pay Medifleet the value of

the benefit conferred in the approximate amount of $238,466. 70 (as of 09/03/2015),

plus prejudgment costs and interest.

       54.     Medifleet is entitled to damages as a result of Plus Diagnostics and/or

Miraca's unjust enrichment.

COUNT FIVE: PROMISSORY ESTOPPEL RE PLUS DIAGNOSTICS CONTRACT
(AGAINST MIRACA AND PLUS DIAGNOSTICS)

       1-49. Paragraphs 1 through 49 of the Complaint are realleged as if set forth fully

herein as Paragraphs 1 through 49 of Count Five.

       50.     Plus Diagnostics and/or Miraca, as successor of Plus Diagnostics, clearly

and definitely promised Medifleet that, in exchange for the rendering of Medifleet's

courier services to Plus Diagnostics, Medifleet would receive certain benefits including,

but not limited to, the benefit of the "per route" payment rate for its courier services, as

well as being the exclusive courier rendering services to Plus Diagnostics in

Connecticut, Delaware, Massachusetts, Maryland, New Hampshire, New Jersey, New

York, Pennsylvania and Rhode Island.




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       51.      Plus   Diagnostics   and/or Miraca's   promises were         such   that   Plus

Diagnostics and/or Miraca should reasonably have expected to induce reliance thereon

by Medifleet, and did induce reliance thereon by Medifleet, to its detriment.

       52.      Despite the promises of Plus Diagnostics and/or Miraca, Plus Diagnostics

and/or Miraca failed to pay Medifleet for courier services rendered by it.

       53.      Plus Diagnostics and/or Miraca continue to withhold full payment to

Medifleet for its courier services rendered for Plus Diagnostics and/or Miraca's own

benefit.

       54.      By virtue of the foregoing, Plus Diagnostics and/or Miraca have breached

their promises to Medifleet and caused Medifleet to suffer harm.

       55.      As a result of the foregoing, Medifleet has sustained money damages in

the approximate amount of $238,466.70 (as of 09/03/2015), plus prejudgment costs and

interest.

COUNT SIX: BREACH OF IMPLIED CONTRACT RE THE MIRACA AWARD
(AGAINST MIRACA AND PATH-TEC)

       1-49. Paragraphs 1 through 49 of the Complaint are realleged as if set forth fully

herein as Paragraphs 1 through 49 of Count Six.

       50.      Path-Tee, individually and/or as a duly authorized agent of Miraca,

solicited proposals from multiple carriers, including Medifleet, to provide courier services

for the Miraca Business.

       51.      Path-Tee and/or Miraca represented to Medifleet, by words, actions and/or

conduct that the Plus Diagnostics Business and the courier services provided by

Medifleet to Plus Diagnostics under the Plus Diagnostics Contract, were not part of the

Miraca RFP.



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       52.     In   exchange   for   Path-Tee    and/or   Miraca's    representations   and

assurances, Medifleet agreed to submit a proposal to Path-Tee in response to the

Miraca RFP (the "Medifleet Proposal").

       53.     Path-Tee, on behalf of Miraca, awarded Medifleet with the Miraca

Business in certain markets based on the Medifleet Proposal.

       54.     By awarding the Miraca Business to Medifleet, Miraca and/or Path-Tee

accepted and agreed to the terms set forth in the Medifleet Proposal.

       55.     In addition, Path-Tee, individually and/or as a duly authorized agent of

Miraca, represented to Medifleet, by its words, actions and/or conduct that it was

responsible for managing courier services provided to Miraca and for ensuring that

contracted couriers, such as Medifleet, are paid fully for said courier services.

       56.     Medifleet rendered courier services to Miraca in accordance with, and in

reliance on the terms of the Medifleet Proposal and/or the Miraca Award.

       57.     Medifleet has performed all of its obligations under the Medifleet Proposal

and/or the Miraca Award.

       58.     Path-Tee and/or Miraca have transitioned the Plus Diagnostics Business

from Medifleet to other couriers in the markets where Path-Tee and/or Miraca did not

award Medifleet with the Miraca Business.

       59.     Path-Tee and/or Miraca breached their agreement with Medifleet when

they transitioned the Plus Diagnostics Business from Medifleet to other couriers.

      60.      Path-Tee and/or Miraca have failed to pay Medifleet in full for the courier

services rendered by Medifleet in accordance with the terms of the Medifleet Proposal

and/or the Miraca Award.




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         61.   Path-Tee and/or Miraca have breached their agreement with Medifleet

based on the terms of the Medifleet Proposal and/or the Miraca Award, in, among other

things, failing to pay Medifleet in accordance with terms of the Medifleet Proposal and/or

the Miraca Award.

         62.   Path-Tee has breached its agreement with Medifleet to ensure that

Medifleet is paid fully for courier services rendered to Miraca.

         63.   As a result of the foregoing breach(es), Medifleet has incurred damages in

the approximate sum of $172,047.34 (as of 09/03/2015), plus prejudgment interest and

costs.

COUNT SEVEN: BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR
DEALING RE THE MIRACA AWARD (AGAINST MIRACA AND PATH-TEC)

         1-63. Paragraphs 1 through 63 of the Count Six of the Complaint are realleged

as if set forth fully herein as Paragraphs 1 through 63 of Count Seven.

         64.   The Miraca Award contains an implied covenant of good faith and fair

dealing.

         65.   By the terms of the Miraca Award, Medifleet reasonably expected to

receive certain benefits.

         66.   The foregoing described wrongful conduct by Path-Tee and/or Miraca

injured and interfered with Medifleet's receipt of the benefits that it reasonably expected

to receive under the Miraca Award.

         67.   In committing the foregoing described wrongful acts that injured and

interfered with Medifleet's receipt of benefits that it reasonably expected to receive

under the Miraca Award, Path-Tee and/or Miraca acted in bad faith, with self-interested

and sinister motives, and with a design to mislead and deceive Medifleet.



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       68.     The foregoing described wrongful conduct by Path-Tee and/or Miraca, in

breach of the covenant of good faith and fair dealing implied in the Miraca Award,

directly and proximately caused Medifleet to suffer economic harm and incur damages

in the approximate sum of $172,047.34 (as of 09/03/2015), plus prejudgment interest

and costs.

COUNT EIGHT: ACCOUNT STATED RE THE MIRACA AWARD (AGAINST MIRACA
AND PATH-TEC)

       1-63. Paragraphs 1 through 63 of the Count Six of the Complaint are realleged

as if set forth fully herein as Paragraphs 1 through 63 of Count Eight.

       64.     Medifleet submitted invoices to Miraca for payment of its services

rendered in accordance with the Miraca Award.

       65.     Miraca received and retained the invoices submitted by Medifleet without

protest. Accordingly, Miraca is liable to Medifleet for an account stated.

       66.     Upon information and belief, as a vendor hired by Miraca to provide

courier management services on behalf of Miraca, Path-Tee is, and at all times relevant

hereto was, responsible for ensuring that Medifleet is paid in full for the courier services

rendered to Miraca under the terms of the Miraca Award.

       67.     Medifleet submitted invoices to Path-Tee for payment of its services

rendered to Miraca in accordance with the Miraca Award.

       68.     Path-Tee received and retained the invoices submitted by Medifleet

without protest. Accordingly, Path-Tee is liable to Medifleet for an account stated.

      69.      By virtue of the foregoing, Medifleet is entitled to a judgment against

Miraca and/or Path-Tee in the amount of $172,047.34 (as of 09/03/2015), as an account

stated, plus the costs of disbursements of this action and interest as provided by law.



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COUNT NINE: UNJUST ENRICHMENT (AGAINST MIRACA AND PATH-TEC)

       1-49. Paragraphs 1 through 49 of the Complaint are realleged as if set forth fully

herein as Paragraphs 1 through 49 of Count Nine.

       50.      Medifleet conferred a benefit on Miraca and/or Path-Tee, including the

rendering of Medifleet's courier services to Miraca.

       51.      Miraca and/or Path-Tee voluntarily accepted and retained the benefit

conferred.

       52.      The circumstances render Miraca and/or Path-Tee's retention of the

benefit inequitable unless Miraca and/or Path-Tee pay Medifleet the value of the benefit

conferred in the approximate amount of $172,047.34 (as of 09/03/2015), plus

prejudgment costs and interest.

       53.      Medifleet is entitled to damages as a result of Miraca and/or Path-Tee's

unjust enrichment.

COUNT TEN: PROMISSORY ESTOPPEL (AGAINST MIRACA AND PATH-TEC)

       1-49. Paragraphs 1 through 49 of the Complaint are realleged as if set forth fully

herein as Paragraphs 1 through 49 of Count Ten.

       50.      Miraca and/or Path-Tee clearly and definitely promised Medifleet that the

courier services Medifleet provided to Plus Diagnostics under the Plus Diagnostics

Contract were not part of the Miraca RFP.

      51.       Miraca and/or Path-Tee's promises were such that Miraca and/or Path-

Tec should reasonably have expected to induce reliance thereon by Medifleet, and did

induce reliance thereon by Medifleet, to its detriment.




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       52.      In reliance on Miraca and/or Path-Tee's promises, Medifleet submitted a

proposal to Path-Tee in response to the Miraca RFP (the "Medifleet Proposal").

       53.      Path-Tee, on behalf of Miraca, awarded Medifleet with the Miraca

Business in certain markets based on the Medifleet Proposal (the "Miraca Award").

       54.      Miraca and/or Path-Tee clearly and definitely promised Medifleet that, in

exchange for the rendering of Medifleet's courier services to Miraca, Medifleet would

receive the benefit of the terms set forth in the Miraca Award, including, but not limited

to, payment.

       55.      Miraca and/or Path-Tee's promises were such that Miraca and/or Path-

Tec should reasonably have expected to induce reliance thereon by Medifleet, and did

induce reliance thereon by Medifleet, to its detriment.

       56.      Despite the promises of Miraca and/or Path-Tee, Medifleet has lost and

continues to lose the Plus Diagnostics Business to other couriers in the markets where

Miraca and/or Path-Tee did not award Medifleet the Miraca Business.

      56.       Despite the promises of Miraca and/or Path-Tee, Miraca and/or Path-Tee

failed to pay Medifleet for courier services rendered to the Miraca Business.

      57.       Miraca and/or Path-Tee continue to withhold full payment to Medifleet for

its courier services rendered for Miraca and/or Path-Tee's own benefit.

      58.       By virtue of the foregoing, Miraca and/or Path-Tee have breached their

promises to Medifleet, and caused Medifleet to suffer harm in the approximate amount

of $172,047.34 (as of 09/03/2015), plus prejudgment costs and interest.




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                                 PRAYER FOR RELIEF

       WHEREFORE, Medifleet demands that judgment be entered in its favor with

interest, costs and such other relief deemed appropriate by the Court; and

       1.      As to Count One, a monetary award in the sum of $238,466.70, the

precise amount to be proven at trial plus interest thereon;

       2.      As to Count Two, a monetary award in the sum of $238,466.70, the

precise amount to be proven at trial plus interest thereon;

       3.      As to Count Three, a monetary award in the sum of $238,466.70, the

precise amount to be proven at trial plus interest thereon;

       4.      As to Count Four, a monetary award in the sum of $238,466.70, the

precise amount to be proven at trial plus interest thereon;

       5.      As to Count Five, a monetary award in the sum of $238,466.70, the

precise amount to be proven at trial plus interest thereon;

       6.      As to Count Six, a monetary award in the sum of $172,047.34, the precise

amount to be proven at trial plus interest thereon;

       7.      As to Count Seven, a monetary award in the sum of $172,047.34, the

precise amount to be proven at trial plus interest thereon;

       8.      As to Count Eight, a monetary award in the sum of $172,047.34, the

precise amount to be proven at trial plus interest thereon;

       9.      As to Count Nine, a monetary award in the sum of $172,047.34, the

precise amount to be proven at trial plus interest thereon;

       10.     As to Count Ten, a monetary award in the sum of $172,047.34, the

precise amount to be proven at trial plus interest thereon;




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       11.      Costs and disbursements; and

       12.      Entry of judgment against all Defendants in an amount to be proven at trial

together with Medifleet's costs, prejudgment interest and such other and further relief as

the Court may deem just and proper under the circumstances.

                                DEMAND FOR JURY TRIAL

       Pursuant to Fed. R. Civ. P. 38, Medifleet hereby demands a trial by jury on all

issues so triable.




                                                  By:_~~'--\hl<.,..+--l.l,.J-.-.-"---41--"'-"'1------
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